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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,

                                                                    ORDER

                                                                    05-CR-6161L

                      V.

JOHN NICOLO,
                              Defendant.
________________________________________________

       On July 1, 2008, defendant John Nicolo, moved for reconsideration of the Court’s order

revoking his release after the jury had returned its guilty verdict. The Court denied that request

without prejudice to defendant providing more specific information.

       On July 29, 2008, Nicolo filed a Memorandum of Law in support of the motion. Appended

to that memorandum were numerous pages of medical reports from various facilities and hospitals,

as well as a one-page report from Nicolo’s treating physician, John Andolina, M.D.

       Because of privacy concerns, defendant requested that the memorandum with attachments

be filed under seal and that filing was made.

       Although the Court is concerned with privacy issues, I see no reason for defendant’s

memorandum of law (6 pages) and the report of Dr. Andolina to remain sealed. Therefore, copies

of those papers are attached to this order which will be filed and docketed on the public record.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge
Dated: Rochester, New York
       July 30, 2008.
